            Case:
                'j'
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j


AO 91(Rev.08/09) Criminal Complaint


                                    UNITED STATES DISTRICT COURT
                                                                        for the                                                 FILED
                                                        Eastern District of Missouri                                           SEP -1 2017
                                                                                                                          U.S. DISTRICT COURT
                  United States of America                                 )                                            EASTERN DISTRICT OF MO
                             v.                                            )                                                    ST.LOUIS
                                                                           )      Case No.     4:17 MJ 7217 (SPM)
                  FABRIZIO DELLA POLLA
                                                                           )
                                                                           )
                                                                           )
                         Defendant(s)


                                                         CRIMINAL COMPLAINT

          I, the complainant in this case, state that the following is true to the best of my knowledge and belief.
                                      February 28, 2012 to September IO, 2013
On or about the date(s) of                                                        in the city of               St. Louis, MO          in the
        Eastern       District of     ~~~~~~~~-
                                                Missouri              , the defendant(s) violated:

             Code Section                                                            Offense Description

Title 18, U.S.C., Sections 371, 1956,                  Conspiracy to commit unlicensed money transmitting businesses; Conspiracy to
1957 & 1960                                       commit money laundering; and Prohibition of unlicensed money transmitting
                                                  businesses




          This criminal complaint is based on these facts:

                            see attached Affidavit which is incorporated herein by reference.




          0 Continued on the attached sheet.



                                                                                                     Complainant's si ature
                                                                                   MATT McKNIGHT, Special Agent
                                                                                   Drug Enforcement Administration
                                                                                                     Printed name and title

Sworn to before me and signed in my presence.


Date:         September I, 2017


City and state:       St. Louis, Missouri                                         :'hirley P. Mensah, U.S. Magistrate Judge
                                                                                                      Printed name and title
